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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

 

 

BECKLEY DIVISION MAY 24 2016
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DAVID M. DAUGHERTY, tis. bitnet Come
Southern District of West Virginia
Plaintiff,
y. CIVIL ACTION NO. 5:14-cev-24506

OCWEN LOAN SERVICING, LLC,

Defendant.
JURY VERDICT FORM

1) We, the jury, after careful consideration of the evidence and the Court’s
instructions, find by a preponderance of the evidence that Ocwen Loan Servicing, LLC,
violated the Fair Credit Reporting Act by failing to conduct a reasonable investigation.

ZZ yves ______NO

If you answered YES to Question Number 1, proceed to Question Number 2. If you
answered NO, the foreperson should sign and date this form and notify the Court Security
Officer that the jury has reached a verdict.

2) We, the jury, after careful consideration of the evidence and the Court’s
instructions, find by a preponderance of the evidence that the Defendant, Ocwen’s failure to
conduct a reasonable investigation was:

“Willful

Negligent

Proceed to Questions Number 3.
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3) We, the jury, after careful consideration of the evidence and the Court’s
instructions, find by a preponderance of the evidence that Defendant, Ocwen, proximately
caused damages to the Plaintiff, David Daugherty, in the following amount:

Humiliation, emotional distress, embarrassment, injury to the Plaintiff's reputation,

s__ G/2%. 39

annoyance and inconvenience

Max 23, Abst

DATE

 

FOREPERSON _
